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                              UNITED STATES DISTRICT COURT

                            FOR THE WESTERN DISTRICT OF TEXAS

                                       AUSTIN DIVISION


 JOSEPH VAN LOON et al.,

              Plaintiffs,

            v.                                               Civil Action No. 1:23-cv-00312-RP

 DEPARTMENT OF TREASURY et al.,

              Defendants.


                             DECLARATION OF RIPLEY QUINBY IV

       1.        I am currently employed as the Deputy Associate Director in the Office of Global

Targeting at the U.S. Department of the Treasury, Office of Foreign Assets Control (OFAC).

       2.        I have been with OFAC as either a contractor or an OFAC government employee

since 2015, first as a Sanctions Investigator and later as a Section Chief for OFAC’s Strategic

Targeting Section, before assuming my current position.

       3.        In my present role, I oversee the production of evidentiary memoranda for the

purposes of sanctions actions across all of OFAC’s sanctions programs, including those pursuant

to Executive Order 13722 of March 15, 2016, “Blocking Property of the Government of North

Korea and the Workers’ Party of Korea, and Prohibiting Certain Transactions With Respect to

North Korea” (“E.O. 13722”) and Executive Order 13694 of April 1, 2015, “Blocking the

Property of Certain Persons Engaging in Significant Malicious Cyber-Enabled Activities,” as

amended by Executive Order 13757 of December 28, 2016, “Taking Additional Steps to Address
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the National Emergency With Respect to Significant Malicious Cyber-Enabled Activities”

(“E.O. 13694, as amended”).

         4.       In particular, I oversaw the production of the evidentiary memorandum that

relates to OFAC’s November 8, 2022 designation of TORNADO CASH under E.O. 13722 and

E.O. 13694, as amended (the “Evidentiary Memorandum”).

         5.       The facts attested to herein are based on my personal knowledge and information

available to me in the course of my official duties, including my review of the Evidentiary

Memorandum.

         6.       There was an error in OFAC’s production of Exhibit 8 to the Evidentiary

Memorandum that inadvertently deleted the relevant information cited at pages 45 and 51 of the

Evidentiary Memorandum, namely, that according to data from Dune, out of a total of 145,448

withdrawal transactions from TORNADO CASH, 121,702 used relayers and 23,746 were

withdrawn to wallets, by which OFAC determined that 83.67% of the total withdrawal

transactions used relayers. The error resulted when the “Print to PDF” function inadvertently

truncated the relevant information.

         7.       I certify to the best of my knowledge and understanding that these numbers, as

reflected in the Evidentiary Memorandum at pages 45 and 51, were accurate at the time of

OFAC’s designation of TORNADO CASH, and would have appeared in Exhibit 8 had that

exhibit been property processed via the Print to PDF function.

         8.       I have attempted to determine whether the information from the time of

designation is stored at or otherwise available to OFAC in any format, and I have determined

that it is not.
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       9.      Nonetheless, as of today’s date, the same Dune analytic tool that appeared in

Exhibit 8 reflects that there has been 152,855 total withdrawal transactions with 128,315 of them

being relayer transactions, by which OFAC determines that 83.94% of TORNADO CASH

transactions used relayers. A true and correct copy of this information, as reflected in the

analytic tool, is attached hereto as Exhibit A.

       In accordance with 28 U.S.C. §1746, I declare, under penalty of perjury, that the

foregoing is true and correct to the best of my knowledge, information, and belief.

                                                     Ripley              Digitally signed by Ripley Quinby IV


                                                     Quinby IV
                                                                         Date: 2023.04.27 14:48:31 -04'00'

Dated: April 27, 2023
                                                     Ripley Quinby IV
                                                     Deputy Associate Director
                                                     Office of Global Targeting
                                                     Office of Foreign Assets Control
                                                     U.S. Department of the Treasury
                                                     1500 Pennsylvania Avenue, N.W.
                                                     Freedman’s Bank Building
                                                     Washington, DC 20220
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                            EXHIBIT A
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